                Exhibit 17
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                                                        FEMALE 12
   FEMALE 12




               FEMALE 2



                                                       FEMALE 9

   FEMALE 9




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